         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-3546
                 LT Case Nos. 2019-CF-4240-A
                               2021-CF-2752-A
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JIHAD KIRAN ELVY,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Marion County.
Anthony M. Tatti, Judge.

Matthew J. Metz, Public Defender, and Judson Searcy, Assistant
Public Defender, Daytona Beach, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Roberts J.
Bradford, Jr., Assistant Attorney General, Daytona Beach, for
Appellee.

                         August 23, 2024


PER CURIAM.

     In this criminal appeal, we affirm the trial court’s imposition
of $100 for the costs of prosecution. See O’Malley v. State, 378 So.
3d 672, 673 (Fla. 5th DCA 2024); Parks v. State, 371 So. 3d 392,
393–94 (Fla. 1st DCA 2023), review granted, No. SC2023-1355,
2024 WL 370043 (Fla. Jan. 31, 2024). However, based on the
State’s concession, we remand with directions that the trial court
enter a proper revocation order specifying that Appellant violated
conditions three and five of his probation. See Collins v. State, 386
So. 3d 1057 (Fla. 5th DCA 2024).

    AFFIRMED and REMANDED with directions.

MAKAR, JAY, and SOUD, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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